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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                   MEMORANDUM


Honorable Frank C. Damrell, Jr.
United States District Judge
Sacramento, California

                                           RE:     RIVAS, Laticia
                                                   Docket Number: 2:03CR00147-02
                                                   PERMISSION TO TRAVEL
                                                   OUTSIDE THE COUNTRY

Your Honor:


The probationer is requesting permission to travel to Guanajuato, Mexico. She is current
with all supervision obligations, and the supervising probation officer in the Central District
of California recommends approval be granted.


Conviction and Sentencing Date: On March 28, 2005, Laticia Rivas was sentenced for
the offense of Misprision of a Felony.


Sentence imposed: 48 months probation with special conditions to include financial
restrictions and disclosure, 10 months CCC placement, cooperate with INS in determination
of immigration status, employment restrictions, and $90,000 restitution.

It is noted Rivas is in compliance with all terms and conditions of supervision and the
restitution obligation has been paid in full.


Dates and Mode of Travel: December 21, 2007, to January 6, 2008

       Ms. Rivas will be driving with her husband and children, via their personal vehicle.




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RE:   Laticia RIVAS
      Docket Number: 2:03CR00147-02
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


Purpose: To be with her family over the holidays.

                               Respectfully Submitted,



                                      /s/ kam
                                Karen A. Meusling
                    Supervising United States Probation Officer

DATED:       December 3 2007
             Sacramento, California
             KAM:kam



ORDER OF THE COURT:


Approved        XXXX                          Disapproved




December 4, 2007
Date                                          Frank C. Damrell, Jr.
                                              United States District Judge




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